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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO

Civil Action No. 1:22-cv-01367-STV

JACEY SILLER

        Plaintiff,

v.

CBRE, INC. and BRYAN SEMEL

        Defendants.


                               JOINT NOTICE OF SETTLEMENT


TO THE COURT AND ALL PARTIES APPEARING OF RECORD:

        Plaintiff, Jacey Siller, and Defendants, CBRE, INC., and Bryan Semel, (“together, the

“Parties”) by and through their respective counsel of record, hereby file this Joint Notice of

Settlement, informing the Court of the following:

     1. On August 30, 2022, the Parties participated in a mediation.

     2. At the mediation the Parties were able to successfully reach a resolution of the pending

claims in the above-captioned matter.

     3. The Parties hereby provide notice of the resolution and identify the following deadlines

and events that are pending before this Court:

                a. Consent/Non-Consent to Magistrate form was due August 31, 2022;

                b. a Proposed Scheduling Order is due on September 7, 2022; and

                c. a Scheduling Conference is set for September 14, 2022.



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   4. The Parties are in the process of drafting the settlement documents and anticipate that an

executed settlement agreement, release, and payment shall be completed within the next thirty

days.

   5. Further, once the settlement documents have been executed and applicable payment is

made, the Parties will file with the court a Stipulation for Dismissal with Prejudice.

   6. In the interim, the Parties jointly request that all pending deadlines and events be vacated.


DATED at Denver, Colorado this 1st day of September 2022.


  /s/ Branden D. Lewiston                             /s/ Christopher D. Bryan
  Branden D. Lewiston                                 Christopher D. Bryan
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                                 CERTIFICATE OF SERVICE

        I hereby certify that on this 1st day of September 2022 I electronically filed the foregoing
with the Clerk of the Court using the CM/ECF system which will send notification of such filing
to the following counsel of record:

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                                                             /s/ Laurin D. Quiat




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